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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA,                     *
                                               *
         Respondent,                           *
                                               * CRIMINAL NO. RDB-08-056
                v.                             * CIVIL NO. RDB-12-2348
                                               *
 PATRICK ALBERT BYERS,                         *
                                               *
         Petitioner.                           *
                                               *
                                            *******

                CONSENT MOTION TO EXTEND TIME FOR RESPONSE

       COMES NOW the United States of America, by and through its undersigned counsel,

and with the consent of the Defendant/Petitioner respectfully requests an extension of time on its

response, and in support whereof states as follows:

1.     On March 22, 2022, this Court entered an order permitting Defendant Patrick Albert

Byers to amend his original 2255 petition to add claims regarding his convictions and sentences

on Counts Three, Four, and Eight. ECF 534.

2.     Pursuant to that order, on July 11, 2022, Defendant filed an amended petition as to

Counts Three, Four, and Eight. ECF 543. In addition, the Defendant sought leave to expand his

challenges to all of his convictions. Id.

3.     Under the current briefing schedule, the government’s response is due September 19,

2022. ECF 541.

4.     However, given the press of numerous matters before this Court and the Fourth Circuit,

undersigned counsel needs additional time to file its response. Moreover, given that the

Defendant’s challenges have expanded the playing field to all of his counts of conviction, this
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has necessitated additional research through the archived files for this matter. Accordingly, the

government respectfully requests a 30-day extension of time to file its response.

5.     Undersigned counsel emailed defense counsel regarding this request. Defense counsel

graciously indicated his consent via return email.

       Wherefore, based on the foregoing, the government respectfully requests a 30-day

extension of time on its response brief, which will make such response due on or before October

19, 2022.

                                                     Respectfully submitted,

                                                     Erek L. Barron
                                                     United States Attorney

                                                                    /s/
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